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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

------------------------------------------------------------ X
                                                             :
MALIBU MEDIA, LLC,                                           :
                                                             : Case No. 2:19-cv-02245-NIQA
                                   Plaintiff,                :
v.                                                           :
                                                             :
DENNIS MCOWEN,                                               :
                                                             :
                                   Defendant.                :
------------------------------------------------------------ X
                          MOTION FOR ENTRY OF DEFAULT JUDGMENT
                               AGAINST DEFENDANT DENNIS MCOWEN

          Plaintiff, Malibu Media, LLC (“Plaintiff”), by and through undersigned counsel, and

 pursuant to Fed. R. Civ. P. 55, hereby files its Motion for Entry of Default Judgment (“Motion”)

 against Defendant, Dennis Mcowen (“Defendant”), and in support thereof, states:

           1.      This is a case for copyright infringement arising under United States Copyright

  Act of 1976, as amended, 17 U.S.C. §§ 101 et seq. (the “Copyright Act”).

           2.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

  1331 (federal question); and 28 U.S.C. § 1338 (patents, copyrights, trademarks and unfair

  competition).

           3.      Plaintiff used proven IP address geolocation technology which has consistently

  worked in similar cases to ensure that Defendant’s acts of copyright infringement occurred

  using an Internet Protocol address (“IP address”) traced to a physical address located within this

  District, and therefore this Court has personal jurisdiction over defendant because (i) Defendant

  committed the tortious conduct in this State, (ii) Defendant resides in this State, and/or (iii)

  Defendant has engaged in substantial and not isolated business activity in this State.
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         4.       Indeed, Defendant resides in the State of Pennsylvania at 1401 Peach Tree Lane,

 Philadelphia, PA 19111. As such, this Court has personal jurisdiction.

         5.       A Complaint was filed herein on May 22, 2019 [CM/ECF 1].

         6.       On October 04, 2019, Plaintiff filed its Amended Complaint [CM/ECF 11].

         7.       Service of summons and Amended Complaint was obtained as follows [CM/ECF

 12]:

                  Defendant                           Date of Service, Type of Service

                  Dennis Mcowen                       November 11, 2019, Personal Service

        8.        Under Pennsylvania Code Rule 402(a)(1), process may be served by handing a

copy to the defendant.

        9.        The Affidavit of Service [CM/ECF 12], describes that the process server gave a

copy of the amended complaint and summons to the Defendant, Dennis Mcowen. Thus, service

is appropriate.

        10.       Defendant has failed to plead or otherwise defend himself against Plaintiff’s

Amended Complaint.

         11.      A Clerk’s Certificate of Default was issued as to Defendant Dennis Mcowen on

 December 4, 2019.

         12.      Defendant is not a minor or an otherwise incompetent person or on active duty in

 the U.S. Military. See Decl. of Christopher P. Fiore, Esq.

         13.      This Motion is based on the allegations in Plaintiff’s Amended Complaint.

 Defendant has admitted all of the facts alleged therein by failing to plead or otherwise respond

 to the Amended Complaint. See, A&N Music Corp. v. Venezia, 733 F. Supp. 955, 957 (E.D. Pa.

 1990) (finding that because the defendant had failed to plead a default judgment was



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 appropriate and that the averments of copyright infringement are deemed admitted based on

 defendant’s default).

            14.   This Motion is further based on the facts attested to in the Declaration of

 Christopher P. Fiore, Esq. and the Memorandum of Points and Authorities in Support of Motion

 for Entry of Default Judgment filed contemporaneously herewith, and the record of the

 proceedings and papers on file herein. These materials are sufficient to justify the requested

 relief.

            WHEREFORE, Plaintiff, Malibu Media, LLC, respectfully requests entry of a default

 judgment in favor of Plaintiff and against Defendant, Dennis Mcowen, in the form of the

 Proposed Default Judgment and Permanent Injunction attached hereto, and for such other and

 further relief this Court deems just and proper.

 Dated: December 5, 2019                                Respectfully submitted,

                                                        FIORE & BARBER, LLC

                                                By:     /s/ Christopher P. Fiore
                                                        Christopher P. Fiore, Esquire
                                                        418 Main Street, Suite 100
                                                        Harleysville, PA 19438
                                                        Tel: (215) 256-0205
                                                        Fax: (215) 256-9205
                                                        Email: cfiore@fiorebarber.com
                                                        PA Attorney ID: 83018



                                   CERTIFICATE OF SERVICE
           I hereby certify that on December 5, 2019, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF and that service was perfected on all counsel of

record and interested parties through this system.




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       I further certify that some of the participants in the case are not CM/ECF users. I have

mailed the foregoing document via U.S. Mail to the persons set forth in the Service List below.

                                                            By: /s/ Christopher P. Fiore

Service List
Dennis Mcowen
1401 Peach Tree Lane
Philadelphia, PA 19111.




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